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RONALD BROWN,

 

Plaintiff,
v. No. 04-1269

PRISON REALTY TRUST, INC., et al.,

Defendants.

 

ORDER TO SHOW CAUSE WHY DEFAULT SHOULD
NOT BE ENTERED fN FAVOR OF THE PLAINTlFF

 

This Civil Rights action was initiated by the Plaintiff, Ronald Brown, on October 15 2004,
by invoking the Court’s federal question and supplemental jurisdiction Five days latei', Plaintit`t`
accomplished service on all of the Defendants. However, according to the Court's docket, no
answers or other responsive pleadings have been filed on behalfofthe Defendants, even though the
deadline for such responses has expiredl

Accordingly, the Defendants are hereby directed, within eleven (l l ) days ofthe entry hereof,
to show cause why default should not be entered in favor of the Plaintiff based on the Defendants’
failure to answer the complaint F ailure of the Defendants to comply in a timely manner with this
order may ultimately result in a default judgment in favor ofthe Plaintiff. g Rule 55, Federal

Rules of Civil Procedure.

 

lUnder Rule 12(a)(l) of the Federal Rules of Civil Procedure, “a defendant shall serve an
answer within 20 days after being served with the summons and complaint.” Fed. R. Civ. P.

iz(a)(i).

This document entered on the docket sheet In compliance
with sure 58 and/or 79(3) FacP on -C\ '

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UNITED`TATES DISTRICTCOURT - WESTE

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This notice confirms a copy ofthc document docketed as number 10 in
case 1:04-CV-01269 was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listcd.

 

 

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Honorable J. Breen
US DISTRICT COURT

